                     Case 22-60043 Document 1 Filed in TXSB on 07/29/22 Page 1 of 17

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


  Southern
 ____________________              Texas
                      District of _________________
                                        (State)

                                                            11
 Case number (If known): _________________________ Chapter _____                                                                    Check if this is an
                                                                                                                                       amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               Free Speech Systems LLC
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                           
                                              ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                 Mailing address, if different from principal place
                                                                                                          of business

                                                  3019 Alvin Devane Blvd., STE 300
                                              ______________________________________________              _______________________________________________
                                              Number     Street                                           Number     Street

                                              ______________________________________________              _______________________________________________
                                                                                                          P.O. Box

                                                  Austin, TX 78741
                                              ______________________________________________              _______________________________________________
                                              City                        State    ZIP Code               City                      State      ZIP Code


                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business
                                                  Travis
                                              ______________________________________________
                                              County                                                      _______________________________________________
                                                                                                          Number     Street

                                                                                                          _______________________________________________

                                                                                                          _______________________________________________
                                                                                                          City                      State      ZIP Code




 5.   Debtor’s website (URL)                  ____________________________________________________________________________________________________




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
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Debtor         Free Speech Systems LLC
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




 6.   Type of debtor                      X
                                           Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          X None of the above
                                          

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              5151
                                             ___ ___ ___ ___

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                          X Chapter 11. Check all that apply:
                                          
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                           X The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                          
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
                       Case 22-60043 Document 1 Filed in TXSB on 07/29/22 Page 3 of 17

Debtor          Free Speech Systems LLC
               _______________________________________________________                      Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases        X No
                                         
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

 10. Are any bankruptcy cases            X No
                                         
      pending or being filed by a
      business partner or an              Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this       Check all that apply:
      district?
                                         X Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                         
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                          A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have         X
                                          No
      possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                   Other _______________________________________________________________________________


                                                  Where is the property?_____________________________________________________________________
                                                                            Number          Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________         _______ ________________
                                                                            City                                            State ZIP Code


                                                  Is the property insured?

                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________
                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




              Statistical and administrative information




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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Debtor        Free Speech Systems LLC
            _______________________________________________________
            Name
                                                                                                Case number (if known)_____________________________________




 13. Debtor’s estimation of              Check one:
     available funds                     X
                                          Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                               1,000-5,000                                25,001-50,000
 14. Estimated number of
                                         
                                         X 50-99                              5,001-10,000                               50,001-100,000
     creditors
                                          100-199                            10,001-25,000                              More than 100,000
                                          200-999

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15. Estimated assets
                                          $50,001-$100,000                  
                                                                             X $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16. Estimated liabilities
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                 
                                                                             X $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of           The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                          07/29/2022
                                             Executed on _________________
                                                         MM / DD / YYYY


                                            _____________________________________________                 W. Marc Schwartz
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                     Chief Restructuring Officer
                                             Title _________________________________________




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
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Debtor        Free Speech Systems LLC
            _______________________________________________________                     Case number (if known)_____________________________________
            Name




 18. Signature of attorney
                                         _____________________________________________            Date         07/29/2022
                                                                                                              _________________
                                          Signature of attorney for debtor                                    MM    / DD / YYYY



                                           Raymond W. Battaglia
                                         _________________________________________________________________________________________________
                                         Printed name
                                           Law Offices of Ray Battaglia, PLLC
                                         _________________________________________________________________________________________________
                                         Firm name
                                           66 Granburg Circle
                                         _________________________________________________________________________________________________
                                         Number     Street

                                           San Antonio
                                         ____________________________________________________             Texas        78218
                                                                                                         ____________ ______________________________
                                         City                                                            State        ZIP Code

                                           (210) 601-9405
                                         ____________________________________                              rbattaglialaw@outlook.com
                                                                                                         __________________________________________
                                         Contact phone                                                   Email address



                                           01918055                                                       Texas
                                         ______________________________________________________ ____________
                                         Bar number                                             State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
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      Fill in this information to identify the case:

                   Free Speech Systems LLC
      Debtor name __________________________________________________________________

                                                Southern
      United States Bankruptcy Court for the: ______________________              Texas
                                                                     District of _________

      Case number (If known):   _________________________
                                                                              (State)
                                                                                                                                           Check if this is an
                                                                                                                                              amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                  12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete          Name, telephone number, and      Nature of the claim   Indicate if   Amount of unsecured claim
     mailing address, including zip code    email address of creditor        (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                            contact                          debts, bank loans,    contingent, claim amount. If claim is partially secured, fill in
                                                                             professional          unliquidated, total claim amount and deduction for value of
                                                                             services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                   Total claim, if   Deduction for      Unsecured
                                                                                                                   partially         value of           claim
                                                                                                                   secured           collateral or
                                                                                                                                     setoff

1      Elevated Solutions Group                                               Trade claim                                                                $319,148.16
       28 Maplewood Drive
       Cos Cob, CT 06870


       Christopher Sadowski                 Daniel DeSouza                    Potential lawsuit for Disputed
2                                                                                                                                                          $90,000.00
       c/o Copycat Legal PLLC               877-437-6228                      copyright             Unliquidated
       3111 N. University Drive STE 301     dan@copycatlegal.com              infringement
       Coral Springs, FL 33065
      Atomial LLC                                                             Trade claim                                                                  $75,600.00
3
      1920 E. Riverside Dr.
      Suite A-120 #124
      Austin, TX 78741

      Cloudflare, Inc                                                                                                                                       $61,273.68
4                                                                             Trade claim
      Dept LA 24609
      Pasadena, CA 91185-4609


      Jacquelyn Blott                                                        Legal fees                                                                     $58,280.00
5
      200 University Blvd
      Suite 225 #251
      Round Rock, TX 78665

6     Joel Skousen                                                             Trade claim                                                                  $35,035.00
      PO Box 565
      Spring City, UT 84662


      eCommerce CDN, LLC                                                      Trade claim                                                                   $27,270.00
7
      221 E 63rd Street
      Svannah, GA 31405


      Paul Watson                                                              Trade claim                                                                  $25,000.00
8
      9 Riverdale Road
      Ranmoor Sheffield
      South Yorkshire S10 3FA
      UK


    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                  page 1
                            Case 22-60043 Document 1 Filed in TXSB on 07/29/22 Page 7 of 17


    Debtor          Free Speech Systems LLC
                   _______________________________________________________                            Case number (if known)_____________________________________
                   Name




     Name of creditor and complete                Name, telephone number, and   Nature of the claim    Indicate if   Amount of unsecured claim
     mailing address, including zip code          email address of creditor     (for example, trade    claim is      If the claim is fully unsecured, fill in only unsecured
                                                  contact                       debts, bank loans,     contingent, claim amount. If claim is partially secured, fill in
                                                                                professional           unliquidated, total claim amount and deduction for value of
                                                                                services, and          or disputed collateral or setoff to calculate unsecured claim.
                                                                                government
                                                                                contracts)
                                                                                                                       Total claim, if   Deduction for      Unsecured
                                                                                                                       partially         value of           claim
                                                                                                                       secured           collateral or
                                                                                                                                         setoff

      Brennan Gilmore                             Andrew Mendrala                Litigation claim                                                              $50,000.00
9                                                 202-662-9065
      c/o Civil rights Clinic
      600 New Jersey Avenue, NW                   andrew.mendrala@georgetown
      Washington, DC 20001                        .edu

      Greenair, Inc                                                                                                                                            $12,240.00
10                                                                               Trade claim
      23569 Center Ridge Rd
      Westlake, OH 44145


      Edgecast, Inc                                                                                                                                             $11,726.00
11                                                                               Trade claim
      Dept CH 18120
      Palatine, IL 60055

      Ready Alliance Group, Inc                                                  Trade claim                                                                   $9,431.90
12
      PO Box 1709
      Sandpoint, ID 83864


      Getty Images, Inc                                                                                                                                        $9,201.25
13                                                                                Trade claim
      PO Box 953604
      St. Louis, MO 63195-3604

      RatsMedical.com                                                                                                                                          $9,185.00
14                                                                               Trade claim
      c/o Rapid Medical
      120 N Redwood Rd
      North Salt Lake, UT 84054

      David Icke Books Limited                                                                                                                                 $9,000.00
15
      c/o Ickonic Enterprises Limited                                            Trade claim
      St. Helen's House King Street
      Derby DE1 3EE
      UK
      WWCR                                                                                                                                                     $9,000.00
16                                                                               Trade claim
      1300 WWCR Ave
      Nashville, TN 37218-3800

                                                                                                                                                                $7,000.00
17     JW JIB Productions, LLC                                                   Trade claim
       2921 Carvelle Drive
       Riviera Beach, FL 33404

                                                                                                                                                               $5,389.36
18    CustomTattoNow.com                                                         Trade claim
      16107 Kensington Dr. #172
      Sugar Land, TX 77479

      AT&T                                                                       Utilities claim                                                                $3,973.83
19
      PO Box 5001
      Carol Stream, IL 60197-5001


      Justin Lair                                                                Trade claim                                                                    $3,240.82
20
      1313 Lookout Ave
      Klamath Falls, OR 97601




    Official Form 204                   Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                 page 2
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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 VICTORIA DIVISION

 In re:                                            )
                                                   )
 FREE SPEECH SYSTEMS LLC                           )    Case No. 22 - _________
                                                   )
             Debtor.                               )    Chapter 11 (Subchapter V)

                          LIST OF EQUITY SECURITY HOLDERS


 Registered Name of Holder of Security, Class of Security      Number Registered     Kind of Interest
 Last Known Address or Place of Business
 Alexander E. Jones                        Common Equity       100%                  Membership
                                                                                     Interests
 3019 Alvin Devane Blvd., Suite 300
 Austin, TX 78741



                    DECLARATION UNDER PENALTY OF PERJURY
                  ON BEHALF OF A CORPORATION OR PARTNERSHIP

        I, the Chief Restructuring Officer of the limited liability company named as the debtor in
this case, declare under penalty of perjury that I have read the foregoing list and that it is true and
correct to the best of my information and belief.


Date: 7/29/2022                                Signature:_________________________________
                                                         W. Marc Schwartz
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                                       Free Speech Systems, LLC
                                                       Balance Sheet
                                                     As of May 31, 2022


                                                                                                    TOTAL
ASSETS
 Current Assets
 Bank Accounts
  10000 Cash                                                                                   1,157,710.72
  Petty Cash                                                                                       1,537.18
 Total Bank Accounts                                                                          $1,159,247.90
 Accounts Receivable
  11000 Accounts Receivable                                                                   10,013,413.22
 Total Accounts Receivable                                                                   $10,013,413.22
 Other Current Assets
  12000 Inventory                                                                               910,116.84
  13000 Prepaid Expenses                                                                        114,136.99
 Total Other Current Assets                                                                   $1,024,253.83
 Total Current Assets                                                                        $12,196,914.95
 Fixed Assets
 15000 Property and Equipment                                                                  1,580,700.46
 Art Work                                                                                            79.00
 Total Fixed Assets                                                                           $1,580,779.46
 Other Assets
 17100 Security Deposits                                                                        534,560.00
 17300 Intangible Assets - Net                                                                    15,333.33
 Total Other Assets                                                                            $549,893.33
TOTAL ASSETS                                                                                 $14,327,587.74




                                  Accrual Basis Thursday, July 28, 2022 05:32 PM GMT-05:00             1/2
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                                         Free Speech Systems, LLC
                                                         Balance Sheet
                                                       As of May 31, 2022


                                                                                                        TOTAL
LIABILITIES AND EQUITY
 Liabilities
 Current Liabilities
  Accounts Payable
   20000 Accounts Payable                                                                         1,244,885.93
  Total Accounts Payable                                                                         $1,244,885.93
  Credit Cards
   22000 Credit Cards                                                                               207,984.04
  Total Credit Cards                                                                               $207,984.04
  Other Current Liabilities
   Advances from PQPR                                                                               571,920.57
   David Jones Advance                                                                              150,000.00
   Due to PQPR                                                                                   23,058,367.00
   Interest Payable                                                                                       0.00
  Total Other Current Liabilities                                                               $23,780,287.57
 Total Current Liabilities                                                                      $25,233,157.54
 Long-Term Liabilities
  27000 Note Due to PQPR                                                                         53,845,074.41
  Note Payable - Winnebago                                                                           82,524.37
 Total Long-Term Liabilities                                                                    $53,927,598.78
 Total Liabilities                                                                              $79,160,756.32
 Equity
 31000 Opening Balance Equity                                                                   -66,792,609.05
 33000 Distributions to Member                                                                       57,336.00
 35000 Retained Earnings
 Net Income                                                                                       1,902,104.47
 Total Equity                                                                                  $ -64,833,168.58
TOTAL LIABILITIES AND EQUITY                                                                    $14,327,587.74




                                    Accrual Basis Thursday, July 28, 2022 05:32 PM GMT-05:00               2/2
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                                          Free Speech Systems, LLC
                                           Statement of Cash Flows
                 For the Year Ended December 31, 2021 and the Five Months Ended May 31, 2022

                                                                               2021               2022
OPERATING ACTIVITIES
 Net Income                                                                 ($10,919,482.45)    $1,744,855.66
 Adjustments to reconcile Net Income to Net Cash provided by
operations:
   11000 Accounts Receivable:PQPR Reimbursement Receivable                  ($10,187,121.95)      $648,708.73
   12000 Inventory                                                              ($94,344.61)      $822,486.29
   Prepaid Expenses                                                            ($403,821.24)       $65,286.20
   Accumulated Depreciation                                                     $209,887.99        $98,750.20
   Accumulated Amortization                                                      $35,361.29              $0.00
   20000 Accounts Payable                                                     $3,005,707.55    ($3,410,484.85)
   22000 Credit Card Payable                                                   ($236,394.79)      $207,984.04
   Advances from PQPR                                                                  $0.00      $256,920.57
   David Jones Advance                                                          $150,000.00              $0.00
   Due to PQPR                                                               ($2,229,789.04)             $0.00
   Interest Payable - PQPR                                                     ($200,022.99)             $0.00
                                Net cash provided by operating activities   ($20,870,020.24)      $434,506.84
INVESTING ACTIVITIES
 15000 Property and Equipment                                                  ($522,121.65)          ($91.00)
 17100 Security Deposits                                                       ($500,000.00)             $0.00
 17300 Intangible Assets                                                         ($5,500.00)        $3,229.15
                                Net cash provided by investing activities    ($1,027,621.65)        $3,138.15
FINANCING ACTIVITIES
 27000 Note Due to PQPR:2021/11/10 $25,300,000 Note                          $24,992,405.22     ($735,330.81)
 Note Payable - Winnebago                                                       ($18,832.81)     ($10,981.25)
 31000 Opening Balance Equity                                                          $0.00             $0.00
 Member's Equity                                                                ($23,193.36)     ($98,098.40)
 Net Member Distributions                                                    ($2,100,362.40)       $57,019.45
                                Net cash provided by financing activities    $22,850,016.65     ($787,391.01)
                                            Net cash increase for period        $952,374.76     ($349,746.02)
                     Case 22-60043 Document 1 Filed in TXSB on 07/29/22 Page 12 of 17


                  Free Speech Systems LLC
            Comparative Profit and Loss Statement
  For the Year Ended December 31, 2021 and the Five Months
                     Ended May 31, 2021

                                        2021               2022
Income
Product Sales                     $   52,661,022.49   $   10,969,769.29
Advertising Income                     5,761,997.51
Donations                                710,154.12        2,876,213.86
Fulfillment Services                   3,533,223.00                 -
Administrative Services                1,903,898.95                 -
Media Production Sales                          -            475,000.00
Infowars Health                           38,123.60                 -
Prison Planet                              4,877.62                 -
Uncategorized Income                     357,344.56                 -
Total Income                          64,970,641.85       14,320,983.15
Cost of Goods Sold                    51,878,333.73        4,936,453.79
Gross Profit                      $   13,092,308.12   $    9,384,529.36
Expenses
Advertising & Promotion                   364,387.73         107,994.01
Computer/IT/IP Expense                  5,036,717.02       1,307,339.15
Insurance Expense                          54,558.40          31,898.90
Office & Administrative Expense           277,863.76          26,373.93
Contract Services                       1,591,039.49         359,592.69
Professional Fees                       4,126,906.48       1,623,771.42
Occupancy                               1,624,864.40         345,602.34
Utilities                                 115,461.34         127,855.13
Taxes Paid                                 50,281.71           4,409.71
Telephone Expense                         304,776.62          85,341.24
Personnel & Payroll Expenses            6,879,811.39       2,157,298.60
Travel                                    975,711.28          64,900.23
Equipment Purchase                        123,696.05                -
Production                                393,712.54                -
Radio Show                                145,177.77                -
Royalties                               1,197,472.71                -
Equipment Rental                           27,322.86                -
Meals and Entertainment                    97,486.31                -
Miscellaneous Expenses                          0.00                -
Uncategorized Expense                            -           103,815.00
Total Expenses                         23,387,247.86       6,346,192.35
Net Operating Income              $   (10,294,939.74) $    3,038,337.01
Other Income                              507,168.04       1,019,713.81
Other Expenses                             18,963.30             206.15
Interest Expense                          857,498.17         397,669.19
Donation                                   10,000.00                -
Amortization Expense                       35,361.28           5,937.50
Depreciation Expense                      209,888.00          98,750.20
AMEX Charges                                     -         1,653,383.31
Total Other Expenses                    1,131,710.75       2,155,946.35
Net Other Income                         (624,542.71)     (1,136,232.54)
Net Income                        $   (10,919,482.45) $    1,902,104.47
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                    Free Speech Systems LLC
                   Comparative Balance Sheet
            As of December 31, 2021 and May 31, 2022

                                        2021                 2022
Assets
Current Assets
Cash                              $    1,481,519.86    $    1,159,247.90
Accounts Receivable                   10,187,121.95        10,013,413.22
Other Current Assets
Invenotry                              1,732,603.13           910,116.84
Prepaid Expenses                         446,475.64           114,136.99
Due from PQPR                               (500.00)                 -
Advance To Elevated Solutions             27,870.00                  -
Total Other Current Assets             2,206,448.77         1,024,253.83
Total Current Assets                  13,875,090.58        12,196,914.95
Fixed Assets                           1,679,438.66         1,580,779.46
Other Assets
Intangible Assets                         21,270.83            15,333.33
Security Deposits                        534,560.00           534,560.00
Total Other Assets                       555,830.83           549,893.33
Total Assets                      $   16,110,360.07    $   14,327,587.74
Liabilities and Equity
Liabilities
Current Liabilities
Accounts Payable                  $    4,732,966.89    $    1,244,885.93
Credit Cards                             152,367.42           207,984.04
Other Current Liabilities
David Jones Advance                      150,000.00           150,000.00
Advances from PQPR                              -             571,920.57
Due to PQPR                           23,058,367.00        23,058,367.00
Total Other Current Liabilities       23,208,367.00        23,780,287.57
Total Current Liabilities             28,093,701.31        25,233,157.54
Long Term Liabilities
Note Due to PQPR                      54,580,405.22        53,845,074.41
Note Payable - Winnebago                  93,505.62            82,524.37
Total Long Term Liabilities           54,673,910.84        53,927,598.78
Total Liabilities                 $   82,767,612.15    $   79,160,756.32
Equity
Member's Equity                        (774,291.44)              -
Member Draws                        (61,937,862.26)      (254,014.00)
Member Contributions                  4,305,810.14        311,350.00
Opening Balance Equity                         -      (66,792,609.05)
Retained Earnings                     2,668,573.93               -
Net Income                          (10,919,482.45)     1,902,104.47
Total Equity                      $ (66,657,252.08) $ (64,833,168.58)
Total Liabilities and Equity      $ 16,110,360.07 $ 14,327,587.74
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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  VICTORIA DIVISION

 In re:                                            )
                                                   )
 FREE SPEECH SYSTEMS LLC                           )    Case No. 22 - _________
                                                   )
                Debtor.                            )    Chapter 11 (Subchapter V)

                  DECLARATION OF W. MARC SCHWARTZ REGARDING
                     BANKRUPTCY CODE § 1116(1) REQUIREMENTS

          I, W. Marc Schwartz, hereby declare as follows:

          1.      My name is W. Marc Schwartz.

          2.      I am a founder of Schwartz & Associates, LLC (“SALLC”). SALLC has its

principal offices at 712 Main Street, Suite 1830, Houston, Texas. SALLC has been engaged in

business since 2019. The primary business of SALLC is bankruptcy and financial restructuring

consulting, serving as financial/economic experts in civil litigation matters and, serving as court

appointed receivers in federal and state court matters. The firm is also licensed as an investigations

company by the Texas Department of Public Safety.

          3.      SALLC’s services include financial forensics, supervising business operations as a

trustee, examiner with expanded powers or receiver, valuing business assets and income tax related

services       My firm represents individuals, companies and courts in a variety of assignments

including as Chief Restructuring Officers, financial advisers, trustees and examiners in bankruptcy

matters; working as testifying or consulting experts on damages and economic issues for parties

involved in litigation and as a special master for courts where litigation matters are pending;

serving as court appointed receivers in state and federal courts.

          4.      I earned a Bachelor of Arts degree from Princeton University and a Master’s in

Business Administration degree from the University of Chicago Booth School of Business. I am
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licensed in Texas as a Certified Public Accountant, Certified in Financial Forensics by the

American Institute of Certified Public Accountants, a Certified Fraud Examiner, and a Licensed

Private Investigator.

       5.      I have extensive experience serving as a fiduciary in bankruptcy cases as either a

Chapter 11 Trustee, a Chief Restructuring Officer, or an Examiner with expanded powers. I have

also acted as a receiver over several individuals and entities under state law.

       6.       I was retained as the Debtor’s Chief Restructuring Officer in June 2022.

       7.      The Debtor is a disregarded entity for tax purposes and therefore has never prepared

an income tax return.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.


Dated: July 29, 2022                          By:_______________________________________
                                                 W. Marc Schwartz




                                                  2
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